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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

KATHLEEN J. CAHILL,                            )
                                               )
                       Plaintiff,              )      No.     19-cv-4313
        v.                                     )
                                               )      JURY DEMANDED
                                               )
CHICAGO PARK DISTRICT,                         )
                                               )
                       Defendant.              )

                                          COMPLAINT

        Plaintiff, KATHLEEN J. CAHILL, by counsel, Moor Law Office, P.C., complaining of

the CHICAGO PARK DISTRICT (“Park District”), states as follows for her Complaint at Law:

                            COUNT I – Title VII Sex Discrimination

        1.      This is an action for employment discrimination brought to secure relief, legal and

equitable, for discrimination based on sex, brought pursuant to Title VII of the Civil Rights Act of

1964, as amended, 42 U.C.S. § 2000e et seq. (“Title VII”). The jurisdiction of this Court is invoked

to secure protection of, and to redress deprivation of, rights guaranteed by federal law, which rights

provide for injunctive and compensatory relief for illegal discrimination in employment.

                                     Jurisdiction and Venue

        2.      Jurisdiction over this case is conferred on the Court by 42 U.S.C. § 2000e-5(f), and

28 U.S.C. § 1331.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because Plaintiff

resides in the District and the unlawful employment practices alleged herein were committed in

the District.
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          4.     On September 27, 2018, Plaintiff filed a charge of discrimination with the Illinois

Department of Human Rights, which was cross filed with the Equal Employment Opportunity

Commission (“EEOC”), under Charge No. 440-2019-00039.                    The charge alleged sexual

discrimination against the Chicago Park District. The Charge sought compensatory and injunctive

relief.

          5.     On April 1, 2019, the EEOC closed its investigation and issued Plaintiff her right

to sue letter.

          6.     Plaintiff files this civil suit within 90 days of her receipt of the notice from the

EEOC of her right to sue.

                                                Parties

          7.     Plaintiff Kathleen J. Cahill (“Plaintiff”) currently resides, and at all relevant times

alleged herein resided, in the City of Chicago. Plaintiff is an adult female. Plaintiff at all relevant

times was an “employee” within the meaning of Title VII, 42 U.S.C. § 2000(e) (f), having been

employed by Defendant between May 13, 2010 and the present.

          8.     The Chicago Park District is a corporate entity created by state statute, 70 ILCS

1505/0.01 et seq, authorized to do business in Illinois, and which does business in this District. It

is an “employer” within the meaning of Title VII of the Civil Rights Act, 42 U.S.C. § 2000e(b)

because at all relevant times it engaged in activities affecting commerce and employed over 15

people.

                                         General Allegations

          9.     Plaintiff first worked at Lincoln Park Conservatory and Lake Shore Park, owned

and operated by the Chicago Park District, as a horticulture volunteer in 2009.




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        10.     While working as a volunteer, Plaintiff was hired to work as a seasonal floriculturist

in May 13, 2010 by the Defendant at the Garfield Park Conservatory.

        11.     On September 30, 2010 the Plaintiff was promoted to apprentice floriculturist, and

held this position till January 25, 2012.

        12.     The relevant hierarchy of jobs at the Park District Conservatories are a) seasonal

floricultural worker; b) apprentice floriculturist; c) class 2 floriculturist; d) class 1 floriculturist;

and e) floriculturist foreman.

        13.     On January 25, 2012, Plaintiff was promoted to Class 2 floriculturist, and has held

this position until the present.

        14.     In March 2010, Victor Amo began working as a horticulture volunteer at the

Garfield Park Conservatory.

        15.     Plaintiff, who supervised Amo as a volunteer, later assisted him in his successful

effort to be hired as a seasonal floriculturist in 2012.

        16.     From 2013 to 2016 the Plaintiff applied for and was overlooked for positions posted

by the Defendant.

        17.     On January 11, 2018 the Plaintiff applied for the position of Class 1 floriculturist,

and submitted to interview for the opening on May 16, 2018.

        18.     The Plaintiff was not promoted. Instead a lesser qualified male, Amo, who had

been promoted to an apprentice floriculturist on November 7, 2013, and thereafter to a Class 2

floriculturist, was promoted in June 2018 to the Class 1 floriculturist opening.

        19.     The Plaintiff is still a Class 2 floriculturist despite having more horticultural and

educational experience, certification and licensing than Victor Amo.

        20.     Victor Amo was promoted because he is male.



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       21.     The Plaintiff was not promoted in June 2018 because she is a female.

       22.     At all relevant times prior to and including June 2018, the Plaintiff performed her

job in a manner that met and exceeded the expectations of the Chicago Park District.

       23.     The Park District has violated and is violating Title VII by failing hire and promote

women on the same basis that it hires and promotes men.

       24.     The discrimination against the Plaintiff is long standing.        One past example

involves Gabe Jenkins, who was placed into a Class 1 Floriculturist position on a “temporary”

basis and then promoted into the position on a full-time basis in October 2014 over the Plaintiff,

who was more qualified than Jenkins for the position.           After benefiting from this gender

discrimination, Jenkins was again promoted over the Plaintiff in March 2016 into a Foreman

position.

       25.     The failure of the Park District to hire and promote women on an equal basis with

men is a policy, custom and practice. Many women, including, but not limited to, Linda Allen,

for instance, who worked for thirteen years as an Apprentice before her application to be promoted

to a Class 2 floriculturist at the Garfield Park Conservatory was approved. Sally Ann Wheeler

worked as an Apprentice for eight years before her application to be promoted to a Class 2

floriculturist was approved. Maria Ramirez was an Apprentice for approximately ten years before

her application to be promoted to a Class 2 floriculturist was approved. Cynthia Luvert worked as

a seasonal floriculturist for seven years and was only hired as an Apprentice floriculturist after she

filed a union grievance.     Similarly, Adrianne Saint Eve was held back as an Apprentice

floriculturist while less qualified men were promoted over her.

       26.     The Park District’s conduct is unreasonable, and alternatively was willful and

wanton or intentional.



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       27.     As a proximate result of the Park District’s illegal indifference to her federally

protected rights, Plaintiff has suffered anxiety, emotional distress, damage to her reputation, loss

of income, and loss of enjoyment of the ordinary pleasures of life.

       WHEREFORE, KATHLEEN J. CAHILL, by counsel, respectfully prays that this Court

provide the following remedies:

       a.      Award Plaintiff lost wages, including back pay, front pay, and lost fringe benefits,

               including, without limitation, any lost benefits with applicable prejudgment and

               statutory interest;

       b.      Promote the Plaintiff to a Class 1 floriculturist, with backpay;

       c.      Enjoin Defendant from discriminating against women by refusing to promote them

               equally with men;

       d.      Award Plaintiff the costs of litigation, including reasonable attorney’s fees, expert

               fees and expenses;

       e.      Award compensatory damages;

       f.      Award punitive damages; and

       g.      Award any other relief that this Court deems just.

       Plaintiff demands trial by jury.

                                              /s/ Edward R. Moor
                                              Attorney for Plaintiff


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